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                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

 DAN GOLUBIEWSKI and STEVEN                 No. 3:22-cv-02077-MEM
 CHECCHIA, individually and on
 behalf of all others similarly situated,

       Plaintiffs,

 V.

 DAVE INC.,

       Defendant.

    ORDER GRANTING MOTION FOR EXTENSION OF TIME TO
 RESPOND TO DEFENDANT'S MOTION TO COMPEL ARBITRATION

      AND NOW, this ~°It-- day of           l'>.i~     , 2023, on consideration of

Plaintiffs ' Motion for Extension of Time to Respond to Defendant's Motion to

Compel Arbitration, and all related papers, IT IS ORDERED THAT said motion is

GRANTED.

      IT IS FURTHER ORDERED that Plaintiffs shall respond to Defendant's

Motion to Compel Arbitration no later than April 28, 2023.



                                             BY THE COURT:



                                                     lachy E. Ma iB~- - -
                                                     tates District Judge
